       Case 2:17-cv-05394-SM-MBN Document 63 Filed 08/02/18 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN THE MATTER OF THE COMPLAINT            *                 CIVIL ACTION
OF RODI MARINE, LLC, AS                   *
OWNER AND OPERATOR                        *                 NO. 17-5394
OF THE M/V WILDCAT                        *
PETITIONING FOR EXONERATION               *                 SECTION: E(5)
FROM OR LIMITATION OF LIABILITY           *
*******************************************

 FIRST SUPPLEMENTAL AND AMENDING ANSWER AND CLAIM IN RESPONSE
TO THE COMPLAINT FOR EXONERATION FROM OR LIMITATION OF LIABILITY

       Antonio Smith, a person of the legal age of majority domiciled in the State of Mississippi,
(“Claimant”) files this First Supplemental and Amending Answer and Claim in Response to the

Complaint for Exoneration From or Limitation of Liability filed by Rodi Marine, LLC, (Petitioner)

and would respectfully supplement and amend the original Claim of Damages, as follows:


I. CLAIM OF DAMAGES

4.     Claimant is entitled to maintain an action against Petitioner and bring this claim for the

       following damages arising out of the above-described incident causing injuries to claimant:

       e.     Punitive Damages - Claimant asserts his right to recover all punitive damages

              available to him under applicable law, including but not limited to the general

              maritime law, for any gross negligence, willful and wanton acts of negligence, and/or

              malicious or outrageous conduct committed by or on behalf of the Petitioner, proven

              at the trial of this matter.



VII.          Claimant, Antonio Smith, re-alleges and re-avers each and every other allegation,

              claim, answer and defense asserted in the original Answer and Claim in Response

              to the Complaint for Exoneration From or Limitation of Liability filed by Rodi

              Marine, LLC, as if copied herein, in extenso.



                                               -1-
       Case 2:17-cv-05394-SM-MBN Document 63 Filed 08/02/18 Page 2 of 2



       WHEREFORE, claimant, Antonio Smith, Jr., prays that after due proceedings are had

that judgment be rendered in his favor against petitioner, as prayed for in this pleading and in the

original Answer and Claim in Response to the Complaint for Exoneration From or Limitation of

Liability filed by Rodi Marine, LLC together with pre-judgment interest and post-judgment interest,

and for all costs of these proceedings, including expert fees, and for all other general and equitable

relief deemed appropriate by this Honorable Court.

                                               Respectfully submitted,

                                               GARNER & MUNOZ
                                               1010 Common Street, Suite 3000
                                               New Orleans, Louisiana
                                               Telephone:   (504) 581-7070
                                               Facsimile:   (504) 581-7083

                                               s/ John G. Munoz
                                               JOHN G. MUNOZ - #9830


                                      CERTIFICATE
       I hereby certify that a copy of the above and foregoing has been served upon all parties

herein by using the CM/ECF system and by depositing same in the United States Mail, properly

addressed, and postage prepaid, on this 30th day of July, 2018 to any non-CM/ECF

participants.
                                               s/ John G. Munoz
                                               JOHN G. MUNOZ




                                                 -2-
